 OAO 435            Case 2:18-cr-00422-DJH
                               Administrative Office ofDocument
                                                       the United States 2014
                                                                         Courts               Filed 12/08/23 Page  1 of 1USE ONLY
                                                                                                              FOR COURT
 AZ Form (Rev. 10/2018)                                                                                              DUE DATE:
                                     TRANSCRIPT ORDER

1. NAME                                                                             2. PHONE NUMBER                  3. DATE
          Peter Kozinets                                                              602-514-7500                              12/8/2023
4. FIRM NAME
                 U.S. Attorney's Office
5. MAILING ADDRESS                                                                  6. CITY                          7. STATE         8. ZIP CODE
                        40 N. Central Ave., Ste. 1800                                         Phoenix                  AZ                 85004
9. CASE NUMBER                          10. JUDGE                                                          DATES OF PROCEEDINGS
   CR-18-00422-PHX-DJH                              Humetewa                        11. 8/31/2023                    12. 11/1/2023
13. CASE NAME                                                                                             LOCATION OF PROCEEDINGS
   U.S. v. Michael Lacey, et al.                                                    14. Phoenix                      15. STATE AZ
16. ORDER FOR
9 APPEAL                                ✔
                                        9 CRIMINAL                                  9 CRIMINAL JUSTICE ACT              BANKRUPTCY
✔ NON-APPEAL
9                                       9 CIVIL                                     9 IN FORMA PAUPERIS                 OTHER (Specify)

17. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested.)

                PORTIONS                                   DATE(S)                             PORTION(S)                          DATE(S)
  9VOIR DIRE                                                                         9TESTIMONY (Specify)
  9OPENING STATEMENT (Plaintiff)
  9OPENING STATEMENT (Defendant)
  9CLOSING ARGUMENT (Plaintiff)                                                      9PRE-TRIAL PROCEEDING
  9CLOSING ARGUMENT (Defendant)
  9OPINION OF COURT
  9JURY INSTRUCTIONS                                                                ✔9OTHER (Specify)
  9SENTENCING                                                                        Selected Jury Trial Days           Please see attachment
  9BAIL HEARING
18. ORDER
                        ORIGINAL + 1             FIRST            # OF               DELIVERY INSTRUCTIONS
  CATEGORY             (original to Court,                     ADDITIONAL                                                      ESTIMATED COSTS
                                                 COPY                                   (Check all that apply.)
                     copy to ordering party)                     COPIES
    30 DAYS                    9                    9                                    PAPER COPY
    14 DAYS                    9                    9
7 DAYS(expedited)              9                    ✔
                                                    9                                ✔   PDF (e-mail)
    3 DAYS
                               9                    9
     DAILY
                               9                    9                                    ASCII (e-mail)
   HOURLY                      9                    9
   REALTIME                                                                         E-MAIL ADDRESS
                                                                                     peter.kozinets@usdoj.gov /daniel.parke@usdoj.gov
CERTIFICATION (19. & 20.) By signing below, I certify that I will pay all charges
                        (deposit plus additional).
                                                                                    NOTE: IF ORDERING MORE THAN ONE FORMAT,
19. SIGNATURE s/Peter Kozinets                                                      THERE WILL BE AN ADDITIONAL CHARGE.
20. DATE 12/8/2023
TRANSCRIPT TO BE PREPARED BY
                                                                                    ESTIMATE TOTAL

                                                                                    PROCESSED BY                         PHONE NUMBER
ORDER RECEIVED                                   DATE                BY

DEPOSIT PAID                                                                        DEPOSIT PAID

TRANSCRIPT ORDERED                                                                  TOTAL CHARGES

TRANSCRIPT RECEIVED                                                                 LESS DEPOSIT
ORDERING PARTY NOTIFIED
                                                                                    TOTAL REFUNDED
TO PICK UP TRANSCRIPT

PARTY RECEIVED TRANSCRIPT                                                           TOTAL DUE


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